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    EXHIBIT # 5.1
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  From: Charron, William WCharron@pryorcashman.com
Subject: Jones v. Combs
   Date: April 26, 2024 at 8:06 AM
     To: Tyrone Blackburn tblackburn@tablackburnlaw.com
    Cc: Zakarin, Donald S. DZakarin@pryorcashman.com, Janowitz, James A. JJanowitz@pryorcashman.com



                                  Dear Mr. Blackburn:

                                  Please see the attached zip drives including copies
                                  of papers supporting a motion for sanctions by the
                                  UMG Defendants upon Plaintiff and you being made
                                  pursuant to Fed. R. Civ. P. 11. Papers are being
                                  served upon you by FedEx pursuant to Fed. R. Civ.
                                  P. 5.

                                  Pursuant to Rule 11(c)(2), Plaintiff and you have 21
                                  days (i.e., until May 17, 2024) to withdraw all claims
                                  asserted against the UMG Defendants with
                                  prejudice. Your failure to do so will result in the filing
                                  of this motion with the Court without further notice.

                                  Very truly yours,

                                  William L. Charron
                                  PRYOR CASHMAN LLP
                                  7 Times Square
                                  New York, New York 10036
                                  Direct Dial: (212) 326-0156
                                  Direct Fax: (212) 798-6927
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 RODNEY JONES,

                         Plaintiff,                              Case No.: 24-cv-01457

                  -against-
                                                                 NOTICE OF MOTION FOR
 SEAN COMBS, JUSTIN DIOR COMBS, CUBA                             SANCTIONS
 GOODING JR., LUCIAN CHARLES GRAINGE,
 KRISTINA KHORRAM, LOVE RECORDS, MOTOWN
 RECORDS, UNIVERSAL MUSIC GROUP, COMBS
 GLOBAL ENTERPRISES, JOHN and JANE DOES 1-10
 and ABC CORPORATIONS. 1-10,

                         Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in support

of this Notice of Motion, the Declaration of Donald S. Zakarin dated April 24, 2024, and the

exhibits annexed thereto, and all prior proceedings heretofore had and all papers filed herein,

Defendants Sir Lucian Grainge, Motown Records and UMG Recordings, Inc. (incorrectly named

as Universal Music Group) (the “UMG Defendants”) will move this Court, at a date and time to

be determined by the Court, for Orders, pursuant to Federal Rules of Civil Procedure 11(b) and (c)

sanctioning plaintiff Rodney Jones (“Plaintiff”) and Plaintiff’s counsel, Tyrone Anthony

Blackburn, Esq.

       PLEASE TAKE FURTHER NOTICE that, pursuant to Federal Rules of Civil Procedure

11(c), this Motion is based on the following grounds:

       1. The Complaint, Amended Complaint, and Second Amended Complaint were presented

           for improper purposes, including to harass and defame Defendants, create public and


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           media attention for Plaintiff and Plaintiff’s counsel, and needlessly create and increase

           the cost of litigation, all in violation of Rule 11(b)(1);

       2. The claims in Plaintiff’s Complaint, Amended Complaint, and Second Amended

           Complaint are not warranted by existing law or by a non-frivolous argument for

           extending, modifying, or reversing establishing law or for establishing new law in

           violation of Rule 11(b)(2); and

       3. The factual contentions in the Complaint, Amended Complaint, and Second Amended

           Complaint lack evidentiary support in violation of Rule 11(b)(3).

       PLEASE TAKE FURTHER NOTICE that, pursuant to Local Civil Rule 6.1(b), any

opposing affidavits and memoranda shall be served within fourteen days following the date that is

21 days after the service of this motion in accordance with the time requirements of Rule 11, and

any reply papers shall be served within 7 days after service of the answering papers.


Dated: New York, New York
       April 26, 2024                                  PRYOR CASHMAN LLP



                                                       By: ___________________________
                                                              Donald S. Zakarin
                                                              James A. Janowitz
                                                              William L. Charron
                                                              Nicholas Saady
                                                              Alina Jamil Mian
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                                                       Attorneys for the UMG Defendants




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


RODNEY JONES,

                  Plaintiff,                      Case No.: 24-cv-01457

           -against-
                                                  MEMORANDUM OF LAW IN
SEAN COMBS, JUSTIN DIOR COMBS, CUBA               SUPPORT OF RULE 11
GOODING JR., LUCIAN CHARLES GRAINGE,              MOTION
KRISTINA KHORRAM, LOVE RECORDS, MOTOWN
RECORDS, UNIVERSAL MUSIC GROUP, COMBS
GLOBAL ENTERPRISES, JOHN and JANE DOES 1-10
and ABC CORPORATIONS. 1-10,

                  Defendants.




                                       PRYOR CASHMAN LLP
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       Defendants, Sir Lucian Grainge (“Grainge”), Motown Records (“Motown”) and UMG

Recordings, Inc. (“UMG Recordings,” incorrectly identified in the Complaint, First Amended

Complaint and Second Amended Complaint as Universal Music Group, which is not a juridical

entity; hereinafter sometimes collectively referred to as the “UMG Defendants”), submit this

Memorandum of Law in support of their motion, pursuant to Fed. R. Civ. P. 11.

                   PRELIMINARY STATEMENT & RELEVANT FACTS

       Rule 11 imposes obligations on both litigants and attorneys to assure that pleadings and

other papers signed by attorneys and filed in federal court are not advanced for improper purposes

and are the product of appropriate inquiries into both the facts and law. The attorney’s signature

is the certification that the pleadings and other papers comply with Rule 11 obligations.

       And to enforce compliance — and protect litigants from those who would disregard the

Rule 11 requirements — Rule 11 also punishes parties, and their lawyers, for advancing: (a)

frivolously alleged facts that could not have been the product of good faith investigation and

assertion; and/or (b) frivolous legal claims that could not have been the product of good faith

interpretation of the law or advocacy to change the law. Fed. R. Civ. P. 11(b)(2)-(3).

       Plaintiff and his attorney, Tyrone Blackburn (“Blackburn”), should be sanctioned because

Plaintiff’s claims against the UMG Defendants are both factually and legally frivolous.

Plaintiff’s And Blackburn’s Lack Of Credibility And Propensity To Allege False Facts

       Plaintiff and Blackburn have a demonstrated history of knowingly, recklessly and/or

frivolously alleging false facts. Their initial two pleadings in this case represented, in detail, that

Plaintiff had personally seen Grainge and former co-defendant Ethiopia Habtemariam

(“Habtemariam”) attend multiple “listening parties” hosted by co-defendant Sean Combs

(“Combs”) where sex trafficking activities allegedly occurred. Blackburn signed pleadings that



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stated Plaintiff “recalls seeing Defendant Grainge visiting Mr. Combs [sic] home [sic] in Miami,

Florida and Los Angeles, California”; that “whenever Grainge visited Mr. Combs at his homes, it

would be in the evening, and he and Mr. Combs would disappear for hours in Mr. Combs [sic]

bedroom [sic]”; and that “Grainge sponsored and attended several Love Album listening parties at

Mr. Combs’[s] home in Los Angeles, California.” (ECF No. 2 ¶¶ 162-164.) Blackburn cut and

pasted those identical allegations into the original and First Amended Complaint (“FAC”) with

respect to Habtemariam as well. (Id. ¶¶ 171-174.)

       Plaintiff and Blackburn relied on those highly incendiary allegations as the purported

factual basis for the supposed personal knowledge of Grainge (and Habtemariam) of Combs’s

alleged “sex trafficking” activity, thereby supposedly implicating them in this conduct, to impose

federal civil racketeering and sex trafficking liability on the UMG Defendants under the Racketeer

Influenced and Corrupt Organizations (“RICO”) Act, 18 U.S.C. §§ 1961, et seq., and the

Trafficking Victims Protection Act of 2000 (“TVPA”), 18 U.S.C. §§ 1591, et seq. Plaintiff wasted

no time publishing such allegations not only in this Court, but in the press – indeed, the UMG

Defendants understand that Blackburn provided his scurrilous pleading to the press before even

filing it. (Declaration of Donald S. Zakarin dated Apr. 24, 2024 (“Zakarin Decl.”) at ¶ 45.)

       Those allegations by Plaintiff and Blackburn were lies, and they caused real damage to

Grainge, who has had to endure wholly misplaced public scorn and even threats to his safety

because of them (indeed, Plaintiff and Blackburn unnecessarily published Grainge’s home address

and picture in the original complaint and FAC, only removing the address in the Second Amended

Complaint (“SAC”)). (Id. at ¶¶ 53, 55; Declaration of Sir Lucian Grainge dated Apr. 18, 2024

(“Grainge Decl.”) at ¶ 18.) Plaintiff and Blackburn withdrew these particular allegations from

their SAC, but Blackburn continued to lie about his reasoning in another paper he signed and filed



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with the Court: i.e., his letter dated March 28, 2024 (ECF No. 30). In that letter, Blackburn

claimed he “was clear” in his initial pleadings that “Combs identified” Grainge and Habtemariam

to Plaintiff, but that Plaintiff did not himself recognize Grainge or Habtemariam or “meet them

and speak with them.” (Id. at p.3.) Blackburn wrote no such thing in the original complaint or the

FAC, instead specifically alleging that Plaintiff personally observed both Grainge and

Habtemariam at Combs’s homes during alleged “sex trafficking” activities. He recklessly and

irresponsibly exposed Grainge to danger and disrepute without a care in the world for “clarity,” or

truth.

         Plaintiff and Blackburn also jettisoned (without any explanation) the false allegation from

their initial pleadings that Motown is the “parent” company of co-defendant Love Records, which

is Combs’s record label. (ECF No. 2 ¶¶ 9, 222.) Plaintiff and Blackburn had relied on that

completely fabricated allegation as the basis to impose so-called “respondent [sic] superior”

liability on the UMG Defendants under the civil RICO statute. (Id. ¶¶ 200, 220, 222.) During the

telephonic conference on April 9, 2024, this Court inquired about the basis for the “parent company”

allegation. (4/9/24 Hrg. Tr. at 6:25-8:5.) Mr. Blackburn dodged the question, because he had no

basis. (Id.)

         Blackburn’s propensity for using irresponsible and half-baked federal court filings as

weapons to try to coerce quick settlements was recently called out by Judge Cote in another matter

pending before this Court: Zunzurovski v. Fisher, No. 23-CV-10881. (See ECF Nos. 33, 34.) By

Order dated April 3, 2024, Judge Cote referred Blackburn to the Grievance Committee of the

Southern District of New York after finding that his “pattern of behavior is that he improperly files

cases in federal court to garner media attention, embarrass defendants with salacious allegations,

and pressure defendants to settle quickly.” (ECF No. 34 at pp.13-14.)



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       Blackburn has signed and filed multiple other papers (letters) with the Court in this action

where he has defended his conduct as bona fide. (ECF Nos. 28, 30, 34, 35.) Blackburn, however,

has no credibility, as Judge Cote already determined.

       Blackburn’s inability or refusal to tell the truth was also on full display during the April 9,

2024 hearing with the Court, when he falsely answered this Court’s straightforward question as to

when service of process of his FAC had occurred. (4/9/24 Hrg. Tr. at 2:15-4:1.) Blackburn

misrepresented that he had sent the FAC to a process server to be served on the Combs parties in

this Action on March 18, 2024. (Id. at Tr. 3:1-25.) That was a false statement that Blackburn

made to the Court: Blackburn did not even request the issuance of a summons until April 17, 2024.

(See ECF Nos. 39, 40.)1 Blackburn also falsely represented to the Court that he requested a waiver

of service from the Combs defendants on March 13, 2024, when, in fact, he did not do so until

March 25, 2024. (ECF No. 42 ¶¶ 21-24.)

Plaintiff’s And Blackburn’s New False Facts In The SAC

       In his March 28, 2024 letter to the Court, Blackburn took the position that Plaintiff was

“required” to amend his pleading after receiving a demand letter from the UMG Defendants

because Plaintiff “took them at their word” in their demand letter that the allegations against them

were false. (ECF No. 30 at p.4.) But Plaintiff and Blackburn did not withdraw all of the allegations

against the UMG Defendants, even though the UMG Defendants told them all of the salient

allegations were false. Instead, Plaintiff and Blackburn concocted new – and equally bogus –

allegations to try to maintain their civil RICO and TVPA claims that are their hoped-for settlement

leverage against the UMG Defendants (and instrumental to Blackburn’s self-promotion).



1
 The clerk bounced that request on April 18, 2024 as it was not proper. Blackburn did not bother to make
a new request until after the UMG Defendants served him with their motion to dismiss the SAC on April
24, 2024. And that request was bounced again by the clerk on April 25, 2024.

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       Specifically, Plaintiff and Blackburn have replaced their prior false allegation that Motown

is the “parent” company of Love Records with the new false allegation, repeated some 46 times

throughout the SAC, that Motown and Love Records are so-called “general business partners.”

(E.g., ECF No. 38 ¶¶ 8, 11, 12, 173, 372.) Plaintiff and Blackburn make this allegation as the hook

for their nonsensical and entirely unsupported theory that the UMG Defendants are “generally”

responsible for all of Combs’s personal conduct and activities that involve his receipt and

expenditure of money, including his alleged sex trafficking, because the UMG Defendants

supposedly provide “unchecked financing” to Love Records through their purported “general

business partnership.” (E.g., id. ¶ 372.) This new theory is frivolous (and completely fabricated)

for many reasons.

       First, Plaintiff and Blackburn claim to have relied on “public statements” by Motown and

Love Records announcing their so-called “general business partnership.” (ECF No. 30 at p.3.)

Not only are there no such “public statements” (only colloquial references to the license agreement

having Motown and Love Records “partnering” with respect to a single album), but it does not

remotely support a partnership allegation (and the law cited by Mr. Blackburn in his letter to this

Court (ECF No. 30), itself contradicts any claim of partnership). Even if Mr. Blackburn had no

other information – and he had concrete and indisputable information establishing there was no

partnership before he filed the SAC – no lawyer, consistent with Rule 11, could have pleaded that

Motown and Love Records were so-called “general business partners.”

       The press reporting at issue, which was from 2022, announced that Motown and Love

Records had “partner[ed]” on “a one-time album deal with Motown Records” to release Love

Records’ inaugural album (referred to in the SAC as “the Love Album”). (ECF No. 38 ¶ 12; e.g.,

https://www.billboard.com/music/rb-hip-hop/sean-diddy-combs-motown-records-love-records-



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1235068952/.) Moreover, no joint release of the Love Album by Love Records and Motown ever

actually occurred – Love Records released the Love Album independently, as Plaintiff (a claimed

producer of tracks on that album) and Blackburn readily could have determined for themselves

with virtually no effort (which is, unfortunately, more effort than Blackburn put into conducting

anything remotely approximating a proper Rule 11 inquiry). (E.g., https://www.wbls.com/news/

diddy-receives-first-grammy-nomination-as-a-lead-artist/.)      Plaintiff and Blackburn cannot,

consistent with their obligations and the law, claim to have based their “general business partners”

allegation on public press.

       Second, even on the face of “the public statements made by Defendants on their websites

and on their LinkedIn business pages,” which Blackburn cites in his March 28 letter to the Court,

(ECF No. 30 at p.3), Plaintiff and Blackburn could not have reasonably concluded that Motown

and Love Records ever agreed to be “general business partners.” The citations are to statements

that unequivocally reference only that Motown and Love Records were “partnering” to release

“Diddy’s new album” as “the first release from Love Records” (which, once again, never actually

even occurred and was not a “partnership” in any legal sense). (Id.) Even if this were the only

information that Plaintiff and Mr. Blackburn possessed when the SAC was filed – and it was

anything but their only information – it would still not support Plaintiff’s and Blackburn’s leap to

allege that Love Records and Motown are “general business partners.”

       Third, Plaintiff and Blackburn cite a Declaration they received from Habtemariam in

exchange for releasing her as a co-defendant from this case as “the confirmation [Plaintiff] needed

concerning the business partnership and the funding of the Love Album ….” (ECF No. 30 at p.2.)

Indeed, in Paragraph 218 of the SAC, despite attaching Ms. Habtemariam’s declaration to the SAC,




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Plaintiff alleges that, in Ms. Habtemariam’s declaration, she states that she obtained authorization

from Grainge to enter into the “general business partnership” with Combs.

       Both Blackburn’s statement in his letter to this Court (ECF No. 30) and Plaintiff’s

allegation (written by Blackburn) in Paragraph 218 of the SAC are complete misrepresentations

of what Habtemariam’s declaration actually states. Habtemariam’s declaration states only that she

was authorized to enter into a license agreement with Love Records. Nowhere did she say

anything about a “partnership,” because there was none. Indeed, both she and her attorneys

specifically told Blackburn, when he tried to foist a declaration on her that proclaimed a

“partnership,” that there was none and they rejected that attempt by him. (Zakarin Decl. Ex. 5.)

Blackburn’s description of what Habtemariam said in her declaration is not some innocent mistake

or misinterpretation. It is a flat out, purposeful misrepresentation.

       Fourth, Plaintiff and Blackburn know from the terms of the License Agreement between

Motown and Love Records – which is the basis for Habtemariam’s declaration, and which Plaintiff

and Blackburn also expressly reference and incorporate into their SAC – that Motown and Love

Records expressly were not “partners” at all but were “Independent contractors” with respect to

one another, and that “[n]othing herein contemplates or constitutes [Love Records] or [Combs] as

Motown’s partners, joint venturers, agents or employees” as a legal matter. (ECF No. 42-2

Braithwaite Decl. Exhibit A at ¶ 16.11.)

       Blackburn and Plaintiff had the license agreement in their possession for two weeks before

they filed the SAC on April 12, 2024 (since March 27, 2024, when the UMG Defendants filed

their motion to dismiss the FAC). But because it did not fit their false narrative about a “general

business partnership,” they simply ignored it.




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       In his April 8, 2024 signed letter to the Court, (ECF No. 34), Blackburn vacuously tried to

sidestep the inconvenient License Agreement’s terms by announcing that “Plaintiff has reason to

believe the [License Agreement] defendants rely on is a ruse” and “a toothless sham”. (Id. at pp.1,

5.) Blackburn had, and has, absolutely no good faith basis to take such a position in order to

pretend that the license agreement does not exist. In fact, at best, he has no knowledge at all, which

instead of precluding him from offering statements of purported fact, Blackburn seems to believe

entitles him to make statements of purported fact he knows nothing about.

       In fact, in that same April 8 letter, Blackburn unwittingly admitted that he had no idea

whether what he had written was true or false, conceding that Plaintiff and he cannot support such

a position and instead asked “that the Court allow the parties to engage in limited discovery” so

that they could try to fish for information to backfill their baseless pleading position to survive a

motion to dismiss as well as this anticipated Rule 11 motion. (Id. at p.1.) That, of course, is the

exact opposite of how the process of litigation works.

       Fifth, consistent with their concession that they have no actual knowledge to support their

frivolous and inflammatory allegations that the UMG Defendants engaged in racketeering and sex

trafficking (and therefore require discovery), Plaintiff and Blackburn also unwittingly

acknowledged in Blackburn’s March 28 letter to the Court that their theory against the UMG

Defendants was based upon the notion that they “either negligently or intentionally funded the

activities of Defendant Sean Combs.” (ECF No. 30 at p.1 (emphasis supplied).)

       It is worth pausing here to consider the significance of this admission: in three separate

complaints, Plaintiff and Blackburn made vile criminal accusations against Grainge, Motown and

UMG Recordings, at the same time that they admitted that they did not know, even assuming the

truth of their allegations (and as discussed above and as documented in the accompanying Zakarin



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Declaration, virtually nothing in the SAC regarding the UMG Defendants is even remotely true),

whether anything the UMG Defendants supposedly did was anything more than “negligence.”

       Yet, despite their critical admission that they have no knowledge of any actual awareness

and intentional involvement by the UMG Defendants in Combs’s alleged sex trafficking, Plaintiff

and Blackburn did not restrain themselves from alleging – inconsistently, outrageously, falsely

and frivolously – that the UMG Defendants, “[t]hrough their general business partnership with

[Combs and Love Records] … actively participated in the recruitment of victims of the [sex

trafficking] venture.” (ECF No. 38 ¶ 372 (emphasis supplied).) There are no allegations in the

SAC that support Plaintiff’s and Blackburn’s astonishing and wholly irresponsible allegation that

the UMG Defendants “actively recruited” sex trafficking victims. Nor is there any reasonable

basis for Plaintiff and Blackburn to have stretched their baseless and frivolous allegation of a

“general business partnership” to support an inference that the UMG Defendants “actively

recruited” sex trafficking victims.

Plaintiff’s And Blackburn’s Frivolous Legal Claims In The SAC

       The UMG Defendants have explained in their pending motion to dismiss the SAC why the

claims against the UMG Defendants are meritless. (See generally ECF No. 41.) Indeed, they are

frivolous and not reflective at all of good faith, sensible consideration of the relevant law. If

nothing else, Blackburn should have understood that civil RICO and TVPA liability cannot be

based upon allegations of “negligence.” E.g., Edmonds v. Seavey, No. 08-CV-5646 (HB), 2009

WL 2949757, at *5 (S.D.N.Y. Sept. 15, 2009), aff'd, 379 F. App'x 62 (2d Cir. 2010); Lawson v.

Rubin, No. 17-CV-6404 (BMC), 2018 WL 2012869, at *11 (E.D.N.Y. Apr. 29, 2018); Noble v.

Weinstein, 335 F. Supp. 3d 504, 525 (S.D.N.Y. 2018); Doe 1 v. Deutsche Bank Aktiengesellschaft,

671 F. Supp. 3d 387, 409 (S.D.N.Y. 2023).



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        Blackburn also should have understood from this Court, during the April 9, 2024

conference, that his theory that the UMG Defendants may be strictly liable for alleged civil RICO

and TVPA violations by Combs based upon nothing more than the alleged payment of money to

make music is baseless and hopeless. This Court told Blackburn:

        I’m not hearing anything that would plausibly give rise to a theory that would make
        UMG liable because they gave him [Combs] money and because they had a deal
        with respect to budgets and overseeing certain aspects of their distribution
        agreement, that they had a duty to babysit him [Combs] and prevent him from doing
        all these bad things and that somehow gives rise to liability on the part of the
        company, I just don’t know any authority for that.

(4/9/24 Hrg. Tr. at 16:16-23.)2

        Ignoring this Court’s warning, ignoring the total absence of law that might support their

theory, ignoring the UMG Defendants’ motion to dismiss the FAC (which provided ample notice

that the allegations and claims against the UMG Defendants were not only frivolous but they were

completely unfounded and false), and ignoring the safe harbor provision of Rule 11, Blackburn

and Plaintiff refused to withdraw their frivolous civil RICO and TVPA claims against the UMG

Defendants. The conduct of Blackburn in this case, as noted by Judge Cote, is not some outlier.

It is his pattern. As discussed below, Rule 11 sanctions are now warranted.




2
  See also id. at 7:8–10 (Court: “so without [the license agreement] you thought it was appropriate to file a
complaint simply asserting that Motown was the parent company of Love Records with no basis?”), 8:10–
8:13 (Court: “But you’re saying, because this company was paying money to Sean Combs, that it’s
responsible for the sexual assaults and other conduct by Mr. Combs in his home; is that the theory?”), 9:7–
9:12 (Court: “The fact that he had a deal with his record company to pay him, and there was certain oversight
the company was supposed to give, makes them responsible for all these things that he did in his house?”;
Mr. Blackburn: “Not just his house, your Honor. It wasn’t just his house. It was a yacht.”).

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                                           ARGUMENT

I.       PLAINTIFF AND BLACKBURN SHOULD BE SANCTIONED

         Rule 11(b) provides that, “[b]y presenting to the court a pleading, written motion, or other

paper … an attorney … certifies that to the best of the person’s knowledge, information, and belief,

formed after an inquiry reasonable under the circumstances:

         (1) it is not being presented for any improper purpose, such as to harass, …;

         (2) the claims, defenses, and other legal contentions are warranted by existing law or by a
             nonfrivolous argument for extending, modifying, or reversing existing law or for
             establishing new law;

         (3) the factual contentions have evidentiary support or, if specifically so identified, will
             likely have evidentiary support after a reasonable opportunity for further investigation
             or discovery; ….”

         Violation of Rule 11(b) empowers the Court to exercise its discretion and “impose an

appropriate sanction on any attorney, law firm, or party that violated the rule or is responsible for

the violation.” Fed. R. Civ. P. 11(c)(1). The sanction is “to deter repetition of the conduct or

comparable conduct by others similarly situated.” Fed. R. Civ. P. 11(c)(4).

         “Rule 11’s deterrence value is particularly important in the RICO context, as the

commencement of a civil RICO action has ‘an almost inevitable stigmatizing effect’ on those

named as defendants. Accordingly, Courts in this Circuit have on numerous occasions imposed

Rule 11 sanctions based upon the filing of a frivolous RICO action.” Katzman v. Victoria’s Secret

Catalogue, 167 F.R.D. 649, 660 (S.D.N.Y. 1996) (citations omitted), aff’d, 113 F.3d 1229 (2d Cir.

1997).

         The Court reviews Plaintiff’s and his counsel’s conduct according to a standard of

“objective unreasonableness.” Gong v. Sarnoff, No. 23-CV-343 (LJL), 2023 WL 5372473, at *8

(S.D.N.Y. Aug. 22, 2023). The standard is “not based on the subjective beliefs of the person



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making the statement.” Star Mark Mgmt., Inc. v. Koon Chun Hing Kee Soy & Sauce Factory, Ltd.,

682 F.3d 170, 177 (2d Cir. 2012) (emphasis supplied); accord Gong, 2023 WL 5372473, at *8

(“[A]n attorney files a pleading … in violation of Rule 11 if it is ‘frivolous, legally unreasonable,

or factually without foundation, even though not signed in subjective bad faith.’”) (citations

omitted).

       Under this standard, Plaintiff and Blackburn should both be sanctioned.

       A.      Sanctions Should Be Ordered Based Upon Plaintiff’s And
               Blackburn’s Authorship And Publication Of Frivolously Alleged Facts

       An attorney has an “affirmative duty to conduct a reasonable inquiry into the facts and the

law before filing.” Charles Equip. Energy Sys., LLC v. INNIO Waukesha Gas Engines, Inc., No.

22 CIV. 2716 (CM), 2023 WL 2346337, at *2 (S.D.N.Y. Mar. 3, 2023) (citation omitted).

       It is now uncontroverted that Plaintiff and Blackburn lied when they initially alleged in

both the original complaint and the FAC that Plaintiff personally saw Grainge at Combs’ homes

in Miami and Los Angeles. (ECF No. 2 at ¶ 162.) Plaintiff abandoned this scurrilous allegation

in the SAC. (Zakarin Decl. at ¶¶ 26-28, 30.) But nowhere does Blackburn try to explain or justify

having made this accusation to begin with (outside of his intentional misrepresentation of what is

clearly and falsely said in the original complaint and FAC in his letter to this Court of March 28,

2024 (ECF No. 30)). Plaintiff and Blackburn should both be sanctioned for this reason alone. See

Colliton v. Cravath, Swaine & Moore LLP, No. 08-CV-0400 (NRB), 2008 WL 4386764, at *13

(S.D.N.Y. Sept. 24, 2008) (imposing sanctions under Rule 11 where plaintiff initially alleged he

had been continuously employed by defendants as an attorney, but then pivoted and denied he had

ever been an attorney after defendants demonstrated contrary proof, and explaining that “[i]t is

clear that sanctions are appropriate where facts have been ‘concocted.’”), aff’d, 356 F. App’x 535

(2d Cir. 2009); cf. LifeTree Trading Pte., Ltd. v. Washakie Renewable Energy, LLC, No. 14-CV-

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9075, 2017 WL 2414805, at *6 (S.D.N.Y. June 2, 2017) (Oetken, J.) (imposing sanctions under

Court’s inherent authority where party committed fraud on court by submitting declarations that it

later admitted were untrue); see also 4/9/24 Hrg. Tr. at 20:23-21:3 (“[T]he fact finder may find a

contradictory statement in the earlier complaint and consider that for credibility purposes. So what

I’m saying is I would like to decide the motion to dismiss based on the new complaint, but on Rule

11, you can point stuff in the earlier complaint that you want to point out contradictions, et cetera.”).

        It is not necessary that Blackburn was aware that his client was lying (and, according to

the Rule 11 letter sent to Blackburn by Jonathan Davis on behalf of Combs, Plaintiff apparently

has a criminal history, which, if true, warrants Blackburn conducting significantly more diligence

and thorough investigation into all allegations made by his client).

        Blackburn had a duty to diligently investigate Plaintiff’s allegation before making himself

the author and publisher of it. There is no possibility that Blackburn did so. Blackburn initially

wrote, in Plaintiff’s first filed pleading, that he had seen video evidence of other named defendants

— not any of the UMG Defendants — at purported sex trafficking events. (ECF No. 1 at ¶¶ 80;

108; 112; 162; 186.) Blackburn wrote specific and lurid details about other named defendants —

not any of the UMG Defendants — engaging in purported sexual misconduct. (Id. at ¶¶ 74-80;

109-114.)

        Blackburn knew, or as an attorney practicing before this Court, should have known, how

to investigate Plaintiff’s allegations, and he knew that investigation revealed no corroboration with

respect to the UMG Defendants. Blackburn proceeded anyway to drag them through the mud upon

the basis of general and conclusory — and false — allegations only, which Blackburn had to have

understood paled in comparison to his more particularized allegations regarding other defendants.

See Levine v. F.D.I.C., 2 F.3d 476, 479 (2d Cir. 1993) (imposing sanctions on attorney under Rule



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11 and explaining that “the creativity of an attorney may not transcend the facts of a given case;

counsel in his attempts at creativity concocted ‘facts’ that were not well grounded, and therefore

exceeded the bounds of conduct [under Rule 11].”); AJ Energy LLC v. Woori Bank, No. 18-CV-

3735 (JMF), 2019 WL 4688629, at *11 (S.D.N.Y. Sept. 26, 2019) (imposing sanctions on attorney

under Rule 11 where allegations of theft of €8 billion were facially implausible, self-contradictory

and relied on apparently forged documents, and explaining that, which an attorney is “entitled to

rely on the objectively reasonable representations of the client, … [she] may not simply take her

client’s word on faith where that word would be easily proved (or disproved) through a reasonable

investigation or where red flags should have (and would have) alerted counsel to problems.”), aff’d,

829 F. App’x 533 (2d Cir. 2020) (internal citation & citation omitted); cf. Craig v. UMG

Recordings, Inc., 380 F. Supp. 3d 324, 338 (S.D.N.Y. 2019) (Oetken, J.) (imposing sanctions on

attorney under 28 U.S.C. § 1927 where attorney filed “entirely meritless” motion to disqualify

expert witness based upon false assertion that expert was conflicted due to plaintiff supposedly

sharing confidential information).

       But the reality here is that it is highly unlikely that Blackburn was simply the scrivener of

Plaintiff’s falsehoods, but instead was an active author himself. The “general business partnership”

allegations are those of Blackburn and they are knowingly false. The representation to this Court

about putting the complaint out to service on Combs on March 18, 2024 was Blackburn and it was

knowingly false. The allegations about the UMG Defendants providing “vast sums of cash” to

Combs to facilitate his alleged sex trafficking parties is Blackburn’s writing and it is knowingly

false. And the correlating “failure to make required tax filings” allegation (tax filings required

with respect to cash payments) are plainly Mr. Blackburn’s handiwork and there is no possible

way he could have had any good faith basis for the assertion (because tax filings are not public



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documents). (ECF No. 2 ¶¶ 343(b), 351.)          While the cash payment allegations have been

jettisoned in the SAC, Blackburn now fabricates an allegation that Combs failed to properly pay

taxes (something about which he cannot have any knowledge) and nonsensically manufactures a

duty on the UMG Defendants to have overseen Combs’s tax filings. (ECF No. 38 at ¶¶ 375

(b)(k)(m), 383, Zakarin Decl. at ¶ 11)

       There was never any good faith basis for Blackburn and Plaintiff to have made such “cash”

payment allegations (nor any good faith basis for the tax filings allegations). Blackburn admitted

in his March 28 letter that his only support for these allegations (which have also been dropped

from the SAC) was evidence that Motown provided funding for the production of Love Records’

first album. (ECF No. 30 at 2.) Contractual payments made as part of a commonplace commercial

transaction are not “cash” payments. Plaintiff’s and Blackburn’s allegations about the UMG

Defendants, pursuant to the License Agreement, “providing unfettered access to financing, which

made the sex-trafficking venture possible,” and “[p]roviding Mr. Combs with large sums of U.S.

currency,” are beyond good faith artistic license; they are false, unreasonable, bad faith and

frivolous extrapolations. (ECF No. 38 ¶ 371.)

       Contractual financing for record production is not sex trafficking. That point really should

not have to be explained to an attorney. Blackburn’s tortured and purely conclusory assertion to

the contrary is, and always was, frivolous and sanctionable. See Gong, 2023 WL 5372473, at *13

(imposing sanctions under Rule 11 where “the only factual allegations made to support” claims

that defendants were unregistered agents of Chinese government were that the defendants

“performed legal work on behalf of a Chinese company” and that one defendant had “offices in

[China] from which it conducts ‘lucrative’ business with a ‘potentially significant impact on the

country,’” which were not actionable allegations of fact on their face); Abdelhamid v. Altria Grp.,



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Inc., 515 F. Supp. 2d 384, 399-400 (S.D.N.Y. 2007) (imposing sanctions on attorney under Rule

11 where allegations about corporate parent “appear[ed] to be without any grounding in fact,” and

finding that “a competent attorney could not form a reasonable belief that [the allegations] were

well grounded in fact.”).

       Sanctions are particularly warranted given Blackburn’s persistent presence on social media

regarding this action and his studied indifference to actually ever serving the FAC or the SAC. As

Judge Cote noted, Blackburn has a pattern of filing salacious complaints, ignoring Rule 11 and

seeking to publicize his complaints. See Galonsky v. Williams, No. 96-CV-6207 (JSM), 1997 WL

759445, at *4 (S.D.N.Y. Dec. 10, 1997) (imposing sanctions under Rule 11 where frivolous claims

were “apparently made for their public relations value and as tactical moves in th[e] litigation.”);

An v. Despins, No. 22-CV-10062 (VEC), 2023 WL 4931832, at *6 (S.D.N.Y. Aug. 2, 2023) (“A

court may infer an improper purpose if, in light of Plaintiffs’ conduct during and outside of

litigation, a complaint is so baseless as to suggest that there is an ulterior motive behind the

lawsuit.”); McCullough v. World Wrestling Ent., Inc., No. 3:15-CV-001074 (VLB), 2016 U.S. Dist.

LEXIS 156459, at *37-38 (D. Conn. Nov. 10, 2016) (“Baseless claims that are included in a

complaint as part of a media campaign to pressure the defendant with negative public relations

have been found to evidence bad faith and improper purpose on the part of filing counsel.”)

(citation omitted)

       Plaintiff’s pleadings as against the UMG Defendants were filed for improper purposes of

publicity (for Mr. Blackburn, as Judge Cote observed), pressure and harassment. The UMG

Defendants have had their reputations dragged through the mud for things they never did and

which Plaintiff and Mr. Blackburn either knew they never did or did not care that they never did.

The mere dismissal of the SAC will not recompense the UMG Defendants for the damage done to



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them. They are entitled not only to have their names cleared but to an award of meaningful

sanctions so that plaintiffs and attorneys like Mr. Blackburn or those who would emulate him

understand that there are consequences for such conduct. See, e.g., Gong, 2023 WL 5372473, at

*4 & n.7.

        B.      Sanctions Should Be Ordered Based
                Upon Plaintiff’s Objectively Frivolous Claims

        As the UMG Defendants have explained in their pending Rule 12 motion to dismiss the

SAC, the declarations and exhibits for which are attached to the Zakarin Declaration, Plaintiff’s

claims arising under the civil RICO and TVPA statutes are without basis on multiple, obvious

grounds. (See generally ECF No. 40-42.)3

        As to RICO, Plaintiff failed to viably allege almost every necessary element. (ECF No. 41

at pp. 10-21.) See, e.g., Katzman, 167 F.R.D. at 660-61 (“The total lack of substance [to the RICO

claim] gives rise to the inference that the action was filed for improper purposes.”); Demaree v.

Castro, No. 22-CV-8772 (CM), 2023 WL 6465881, at *16 (S.D.N.Y. Oct. 4, 2023) (“Under the

‘objectively reasonable’ standard, no competent attorney could have formed a reasonable belief

that the RICO claims (asserted in the FAC) were well grounded in fact and warranted by existing

law. The Court thus agrees that Rule 11 sanctions should be awarded against Plaintiffs’ counsel …

for filing that claim.”) (citation omitted).

        Further, as explained above, Plaintiff’s and Blackburn’s entire theory of civil RICO

liability based upon a non-existent “general business partnership,” and upon the mere payment of

money by the UMG Defendants to Love Records to make music, is frivolous.



3
 Plaintiff and Blackburn have now effectively admitted that the California Premises Liability claim and the
TVPA “aiding and abetting” claims initially asserted against the UMG Defendants are meritless by
withdrawing them from the SAC. But they were pleaded twice and they were not withdrawn until after the
UMG Defendants moved against them.

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        As to the TVPA, Plaintiff does not even have a private right of action for the obstruction

claim asserted (nor did Plaintiff for the baseless aiding and abetting claim against the UMG

Defendants in the FAC, which Plaintiff grudgingly withdrew from the SAC). (ECF No. 41 at p

24) See Gong, 2023 WL 5372473, at *11 (finding that federal claim “lacked any chance of success

and was objectively frivolous” where, inter alia, there was no private right of action under the

federal statute).

        Even if a private right of action existed, however, Plaintiff has not alleged anything beyond

bad faith speculation and conclusions to support such a claim, or any of his other TVPA claims.

(Id.) See Gong, 2023 WL 5372473, at *11; Star Mark, 682 F.3d at 177 (“[T]he operative question

is whether the argument is frivolous, i.e., the legal position has ‘no chance of success,’ and there

is ‘no reasonable argument to extend, modify or reverse the law as it stands.’”) (citations omitted).

        Blackburn’s acknowledgement in his March 28 letter that Plaintiff is purely guessing

whether the UMG Defendants supposedly engaged in anything more than “negligent[]” conduct is

a final nail in the coffin of the frivolous claims in the SAC. No competent attorney could

reasonably believe that liability under civil RICO and the TVPA could be imposed upon the UMG

Defendants because of alleged “negligen[ce].” See, e.g., Star Mark, 682 F.3d at 177. If they are

guessing — and they admit that they are — that is not a basis for filing three complaints alleging

criminal conduct against innocent parties.

        Having manufactured a knowingly false “general business partnership” foundation for the

Plaintiff’s claims in the SAC, replacing the completely unfounded “parent company” foundation

of the original complaint and the FAC, and having then invented non-existent duties to supervise

and control how Combs supposedly spent the money Motown Records was contractually obligated

to pay to or on behalf of Love Records, Inc., the SAC still does not plead any viable claims against



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the UMG Defendants. The claims and allegations should never have been made. There was never

a good faith basis for them and the refusal by Plaintiff and Blackburn to drop the claims and remove

the allegations when they received unassailable and indisputable documentary evidence

establishing that their foundational allegations are untrue makes Rule 11 sanctions wholly

warranted in this case.

                                          CONCLUSION

       Plaintiff and Blackburn have shown no understanding of or interest in the consequences of

their reckless, irresponsible, unprofessional, and frivolous conduct. They are unrepentant. They

continually choose to ‘double-down’ as they pedal false, unfounded and highly damaging

accusations in their “say anything” approach. Both are indifferent to the severe harm they have

caused to the UMG Defendants. The completely different theories of the SAC as compared to the

FAC and the completely contrary “facts” underpinning the very same claims, definitively show

the baselessness of the FAC and SAC. Blackburn’s conduct has already been rebuked by Judge

Cote’s Order. As Her Honor recognized, Rule 11 exists to deal with outrageous and, thankfully,

outlier situations like this. Blackburn, and Plaintiff, should be sanctioned.

       For the foregoing reasons, the UMG Defendants respectfully request: (i) appropriate

sanctions ordered against Plaintiff pursuant to Fed. R. Civ. P. 11; (ii) appropriate sanctions ordered

against Plaintiff’s counsel, Tyrone Blackburn, Esq., pursuant to Fed. R. Civ. P. 11; and (iii) such

other and further relief as the Court deems just and proper.




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Dated: New York, New York
       April 26, 2024              PRYOR CASHMAN LLP



                                          By: _____________________________
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 RODNEY JONES,

                        Plaintiff,                   CASE NO.: 24-1457

        v.

 SEAN COMBS,
 JUSTIN DIOR COMBS,
 CUBA GOODING, JR.,                                  DECLARATION OF DONALD S.
 LUCIAN CHARLES GRAINGE,                             ZAKARIN IN SUPPORT OF MOTION
 KRISTINA KHORRAM,                                   OF DEFENDANTS UNIVERSAL MUSIC
 LOVE RECORDS,                                       GROUP, MOTOWN RECORDS AND SIR
 MOTOWN RECORDS,                                     LUCIAN GRAINGE FOR RULE 11
 UNIVERSAL MUSIC GROUP,                              SANCTIONS
 COMBS GLOBAL ENTERPRISES,
 JOHN and JANE DOES 1-10; and
 ABC CORPORATIONS 1-10,

                        Defendants.


I, Donald S. Zakarin, declare as follows:

       1.       I am a member of Pryor Cashman, LLP, counsel for Defendants Sir Lucian

Grainge CBE, and Motown Records (a division of UMG Recordings, Inc.). Plaintiff has also

named Universal Music Group as a defendant but there is no such juridical entity. Universal

Music Group is an umbrella name commonly used to refer to all of the various companies and

record labels that are encompassed within UMG Recordings, Inc. I therefore assume that

Plaintiff has misnamed Universal Music Group, intending to actually name UMG Recordings,

Inc. and I will refer to Universal Music Group herein as UMG Recordings, Inc. (“UMG

Recordings”).    I have personal knowledge of the facts set forth in this Declaration and if called

and sworn as a witness, I could and would competently testify thereto.




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       2.      I submit this declaration in support of the motion of Defendants Sir Lucian

Grainge (CBE), Motown Records and UMG Recordings (sometimes collectively referred to

herein as the “UMG Defendants”) for Rule 11 sanctions against both Plaintiff and his counsel

Mr. Blackburn. This motion has been served on Mr. Blackburn in accordance with the

requirements of Rule 11 to afford him with the opportunity to avoid the imposition of sanctions.

       3.      We do not represent Mr. Combs or any of his entities or the associates identified

in the First Amended Complaint (“FAC”) or the Second Amended Complaint (“SAC”).1 We

represent only the UMG Defendants. Whatever the truth of the allegations that Plaintiff has

made against Mr. Combs, his entities and his associates – and the extent to which Mr. Blackburn

has demonstrated a willingness to ignore facts, indeed, to say things he knows are untrue, makes

me deeply suspicious that his accusations against Mr. Combs and his associates are, at best,

highly exaggerated – there was no basis for the accusations against the UMG Defendants.

       4.      Prior to the service of this motion on Mr. Blackburn, as counsel to plaintiff, and in

his personal capacity, the UMG Defendants moved to dismiss the SAC as it pertains to them.

The declarations submitted in support of that motion to dismiss provide the factual detail

showing that the SAC filed by Mr. Blackburn and his client was filled with indisputably false

allegations against the UMG Defendants and Mr. Blackburn knew that they were false when he

filed the SAC. The SAC is also legally baseless, even if one ignored the falsity of the

allegations.




1
 Plaintiff and Mr. Blackburn moved for leave to amend to file the SAC and leave was granted
after a teleconference with the Court on April 9, 2024. As described below and in my
declaration in support of the UMG Defendants’ motion to dismiss the SAC, not only do the
changes from the FAC confirm Plaintiff’s and Mr. Blackburn’s violation of Rule 11, Mr.
Blackburn straight out knowingly told this Court falsehoods at the April 9, 2024 conference.
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       In Jettisoning The Foundational Allegations of the FAC, the SAC Confirms That
       the Allegations of the FAC Were Baseless To Begin With

       5.      The SAC confirms that the foundational allegations of the FAC were not only

false but were not, and could not have been, filed in compliance with Rule 11. Mr. Blackburn

seems to believe that pleadings are a game of “whack-a-mole.” If one set of accusations is

shown to be false, then he is free to simply file a different set of accusations, apparently under

the rubric of “no harm, no foul.” But the accusations he has made against the UMG Defendants

in both the FAC and the SAC are criminal accusations. There is harm and there is a foul.

       6.      I am attaching the declarations submitted in support of the motion to dismiss the

SAC in support of the UMG Defendants’ motion for Rule 11 sanctions. Attached hereto as

Exhibit 1 is the declaration of Sir Lucian Grainge dated April 18, 2024. Attached hereto as

Exhibit 2 is the declaration of Martha Braithwaite dated April 18, 2024. Attached hereto as

Exhibit 3 is the declaration of Ethiopia Habtemariam dated March 27, 2024. Attached hereto as

Exhibit 4 is my declaration, dated April 24, 2024.

       7.      At the outset, as I did in my declaration in support of the UMG Defendants’

motion to dismiss, I want to walk through an analysis of the purported changes Mr. Blackburn

has made from the FAC in the SAC and how those changes confirm not only the purposeful

falsity of the FAC but the equally purposeful falsity of the SAC.

       8.      Without the slightest factual basis – indeed contrary to the declaration of Ms.

Habtemariam and to the redacted copy of the May 4, 2022 license agreement between Motown

Records and Love Records, Inc., provided to Mr. Blackburn as part of the UMG Defendants’

motion to dismiss the FAC, filed on March 27, 2024 – Mr. Blackburn has substituted an entirely

new foundational allegation for all of the claims against the UMG Defendants: that Motown

Records and/or UMG Recordings was in a “general business partnership” with Love Records,

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Inc. and/or Mr. Combs. This new foundational allegation is as false as the original foundational

allegation of the FAC.

       9.      The FAC based all of its criminal accusations on the foundational allegations that

Motown Records was the “parent company” of Love Records, Inc. and that the UMG Defendants

were liable for the alleged conduct of Combs under a “respondent (sic) superior” relationship.

The “parent company” allegation was simply invented by Plaintiff and Mr. Blackburn, as was the

non-existent “respondeat superior” relationship. Without bothering to flag the change he made

in the SAC for the Court (no blackline of the changes made in the SAC were provided in Mr.

Blackburn’s motion to amend), the SAC eliminates this foundational “parent company”

allegation along with the “respondent (sic) superior” allegation, swapping it out for the equally

baseless “general business partnership” allegation.

       10.     What is the explanation for this fundamental change? None is offered. Yet now

the “general business partnership” allegation, in lieu of the “parent company” allegation, coupled

with the absurd allegation that somehow the UMG Defendants were responsible to monitor and

control how Mr. Combs supposedly spent the monies paid by Motown Records to Love Records,

Inc. under their license agreement, are the centerpiece of strident criminal accusations the SAC

makes against the UMG Defendants.

       11.     Indeed, demonstrating only how completely indifferent Mr. Blackburn and

Plaintiff are to their Rule 11 obligations, the SAC goes so far as to claim that Mr. Combs did not

file or pay taxes and that the UMG Defendants were somehow responsible for monitoring and

compelling him to pay his taxes. The fact that neither Plaintiff nor Mr. Blackburn have any

knowledge of Mr. Combs’ tax filings is no deterrent to their willingness to say anything, with or

without a good faith basis. But Mr. Blackburn’s invention of an obligation on the part of the



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UMG Defendants to oversee the tax filings of Mr. Combs is nothing short of breathtakingly

ludicrous.

       12.     With the abandonment of the baseless “parent company” assertion, instead of

dismissing the complaint as against the UMG Defendants, Mr. Blackburn simply invented a

“general business partnership” allegation for the SAC. He did so despite being fully aware that it

is completely untrue. As I said, Mr. Blackburn seems to view the filing of pleadings in Federal

Court as a game of whack-a-mole: each time you demonstrate that what he has written is utterly

untrue, he simply changes what he writes to something equally untrue.

       13.     When Mr. Blackburn first tried to file the SAC containing the baseless “general

business partnership” allegation (he could not do so without leave of Court), he was immediately

put on notice by Ms. Habtemariam’s personal counsel, Ashlee Lin, that the allegation in the SAC

that Motown Records and Love Records, Inc. entered into a “general business partnership” was

not only false but was directly contrary to what they had told him. Indeed, Ms. Lin pointed out

that her firm had expressly rejected Mr. Blackburn’s attempt to manufacture this false “general

business partnership” narrative in a declaration he had sought to have Ms. Habtemariam sign,

and which she rejected because it was false. Attached hereto as Exhibit 5 is the March 26, 2024

letter from Ms. Lin to Mr. Blackburn.

       14.     Mr. Blackburn was also specifically told by Ms. Habtemariam, who, as the head

of Motown Records, made the license agreement with Love Records, Inc., that there was no

partnership, only a distribution license for one album.

       15.     And as noted above, not only had Mr. Blackburn been told by both Ms.

Habtemariam and her counsel that there was no “general business partnership,” by the time he

filed the SAC (on April 12), more than two weeks had passed since he received (on March 27)



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the UMG Defendants’ motion to dismiss the FAC which included a redacted copy of the license

agreement (attached again on this motion as Exhibit A to the current declaration of Ms.

Braithwaite). And that license agreement, at paragraph 16.11, specifically provided that there

was no partnership between Motown Records and Love Records, Inc.

       16.     But worse yet, consistent with Mr. Blackburn’s willingness to completely

misrepresent indisputable documents, in paragraph 218 of the SAC, he specifically states that

Ms. Habtemariam’s declaration, attached to the SAC, “states that she was given approval by

Defendant UMG to enter the partnership with Sean Comes (sic) to help establish Love

Records.”

       17.     It is literally incomprehensible how Mr. Blackburn could have written these

words when the Habtemariam declaration is attached to the SAC. Nowhere in her declaration

does Ms. Habtemariam say any such thing. The word “partnership” is nowhere mentioned in the

declaration attached to the SAC (and her declaration in support of UMG’s motion to dismiss

specifically refutes any such alleged partnership). Rather, Ms. Habtemariam states in her

declaration attached to the SAC that Motown Records entered into a license agreement with

Love Records, Inc. to distribute an album and that UMG approved of Motown Records entering

into a license agreement. It did not enter into a “partnership” of any sort and most assuredly not

a general business partnership and neither Mr. Grainge nor UMG approved of Motown Records

entering into a partnership with Love Records, Inc. or with Mr. Combs.

       18.     Mr. Blackburn seems to believe that it is ok if he invent things that were not said

and did not happen. His conduct is the antithesis of the good faith required of attorneys under

Rule 11.




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       19.     But as I indicated above, Mr. Blackburn’s conduct in this regard is not some

outlier. He seems to feel unencumbered by any need to be truthful in his papers or, indeed, in

response to direct questions from this Court. The hearing on April 9, 2024 provides a further

troubling example of Mr. Blackburn’s dishonesty. A copy of the transcript of that hearing is

attached to my declaration in support of the UMG Defendants’ motion dismiss as Exhibit 6.

       20.     On page 2 of that transcript, the Court asked Mr. Blackburn whether he had

served the other defendants with the complaint (meaning the defendants other than the UMG

Defendants). I believe that the Court wanted to assure that the Plaintiff and Mr. Blackburn were

expeditiously undertaking to prosecute their claims instead of simply filing a complaint filled

with poisonous accusations.

       21.     Mr. Blackburn represented to the Court that he had sent a Rule 4 waiver form to

Mr. Combs’ counsel, who did not respond, so he sent out his process server to serve the Combs

defendants.

       22.     The Court then asked when these things occurred and on page 3 of the transcript,

Mr. Blackburn directly represented to the Court that he had emailed the Rule 4 waiver form to

Combs’ counsel on March 13 and that he sent the complaint to be served on the Combs

defendants to the process server 5 days later (on March 18, 2024).

       23.     However, contrary to Mr. Blackburn’s representation, I was aware that the docket

did not reflect any request for the issuance of a summons so that his representation could not

have been truthful. In fact, as shown by ECF 39, Mr. Blackburn did not even request the

issuance of a summons until April 17, 2024, a month later than he represented to this Court that

he had sent the complaint to a process server for service (and that request was rejected by the




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clerk as it was not properly filed and as of the date of this declaration, Mr. Blackburn still has yet

to refile such request for the issuance of a summons).

       24.     In fact, even Mr. Blackburn’s representation to this Court about sending an email

requesting a Rule 4 waiver of service from the Combs’ defendants on March 13, 2024 was

untrue. Attached to my declaration in support of the UMG Defendants’ motion to dismiss as

Exhibit 7 is an email from Mr. Blackburn to Jonathan Davis dated March 25, 2024 (with some

unprofessional emoji’s included) requesting a Rule 4 waiver. I am advised that this is the first

and only request that Mr. Blackburn made of Mr. Davis for a waiver.

       25.     Just like paragraph 218 of the SAC completely misrepresents what Ms.

Habtemariam’s declaration (attached to the SAC) says, so too did Mr. Blackburn’s direct

statements to this Court misrepresent indisputable documented facts. Mr. Blackburn has a

deeply troubling inability or unwillingness to tell the truth, even when there are documents

showing him to be not telling the truth.

       26.     But there are more examples of Mr. Blackburn’s dishonesty. The FAC alleged

that both Sir Lucian Grainge and Ms. Habtemariam were supposedly aware of the alleged sex

trafficking by Combs because, in detailed paragraphs, the FAC purported to recount Plaintiff’s

supposed personal knowledge that he saw them at “listening parties” where the alleged “sex

trafficking” supposedly took place. Indeed, the FAC specifically alleged, in haec verba

allegations, that Plaintiff personally saw both Grainge and Habtemariam at Combs’ homes and

that they each, separately, disappeared with Mr. Combs’ into his bedroom for hours.

       27.     These knowingly false statements were abandoned in the SAC (and the

declarations of Mr. Grainge and Ms. Habtemariam submitted in support of the motions to

dismiss both the FAC and the SAC conclusively debunked these baseless allegations).



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         28.   But in his letter motion to amend, Mr. Blackburn intentionally misrepresented to

this Court what is expressly said in the FAC: he claimed that the FAC alleged only that Combs

told Plaintiff that Grainge and Habtemariam were at his homes, not that Plaintiff ever saw or met

them there. That is not what the FAC said. On the contrary, the FAC specifically stated that

Plaintiff saw them there and saw them going into Mr. Combs’ bedroom with Mr. Combs on

multiple occasions. Nowhere did the FAC even suggest that Plaintiff had only supposedly been

told this by Mr. Combs.

         29.   As I said above, Mr. Blackburn has a demonstrated pattern of misrepresenting

what exists on paper in black and white. He appears to be willing to say and write anything

without regard for whether it is true or false and even without regard for whether it can be swiftly

shown to be false by documents that are indisputable.

         30.   The completely false allegations about Sir Lucian Grainge and Ms. Habtemariam

being at supposed “sex trafficking” parties may no longer be in the SAC, but Mr. Blackburn is

silent about how these offensive allegations could ever have found their way into a complaint to

begin with. Even assuming it were true that Mr. Combs supposedly told it to Plaintiff (never

mind that is not what is alleged in the FAC), that is no basis on which to accuse people of

criminal conduct. But Mr. Blackburn does not care about the reputational damage to individuals

that his baseless accusations leave in their wake, not so long as he can self-promote on social

media.

         31.   Having abandoned the story about Mr. Grainge and Ms. Habtemariam being

present at the alleged “sex trafficking” parties, the SAC needed a new theory on which to try to

affix responsibility on the UMG Defendants for the alleged conduct of Mr. Combs. Because no

legally cognizable basis exists for imposing liability on a payor under a contract for what the



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payee does with the payments, Mr. Blackburn simply invented a non-existent duty on the part of

the UMG Defendants to supervise and control Mr. Combs’ expenditure of his own money.

       32.     Mr. Blackburn couples this non-existent duty with allegations for which he has no

factual basis, to the effect that the UMG Defendants simply handed money over to Mr. Combs

and that the license agreement was a “ruse.”2

       33.     First of all, Mr. Blackburn seems to be unaware of the fact that money is fungible.

He ignores the fact that Mr. Combs is and was, in 2022, a very rich man (according to Forbes, in

2022 Mr. Combs was worth in excess of a billion dollars). The license agreement provided for

certain payments to be made to Love Records, including for the payment of invoiced recording

costs. Beyond paying for or reimbursing such costs, Motown was not in the business of running

Love Records’ financial accounting.

       34.     But equally important, as documented by the declaration of Ms. Braithwaite in

support of the motion to dismiss the SAC, Mr. Blackburn’s uninformed assertions that Love

Records did not make any recordings before September 2022 and that Motown Records simply

handed money over to Mr. Combs (instead of paying third party vendors for the recording and

other costs as provided in the license agreement) are utterly false. Again, Mr. Blackburn has no

compunction about saying and writing things without the slightest knowledge or basis (just as he

has no compunction about saying and writing things that he knows are completely untrue).




2
  Even though the unauthorized SAC is clearly the handiwork of Mr. Blackburn and not the
Plaintiff, unlike the FAC, which made virtually no allegations on “information and belief,” in the
unauthorized SAC, Mr. Blackburn plainly hoping to find a safe harbor that might spare him Rule
11 sanctions, litters “information and belief” allegations throughout the pleading and attributes
the allegations to his client. I think it clear that these “caveats” are a pretense. The SAC is
plainly Mr. Blackburn’s handiwork.


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        35.      In effort to hold onto a baseless claim against the UMG Defendants, the SAC has

replaced the FAC’s completely baseless supposed actual knowledge of Sir Lucian Grainge of

Mr. Combs’ alleged activity with equally baseless “should have known” allegations that

supposedly arise out of a legally and factually non-existent obligation to oversee and control how

Love Records and/or Mr. Combs were supposedly spending monies payable under an arm’s

length commercial transaction. The allegations are nonsensical and exists nowhere in the law or

in the facts.3

        36.      The FAC also claimed, without any possible factual or legal basis, that the UMG

Defendants supposedly aided and abetted Combs’ alleged sex trafficking activities by handing

over “cash” to Combs (even alleging it was millions of dollars of cash). The FAC also alleged

that the UMG Defendants obstructed inquiry by the government into Combs’ alleged sex

trafficking activity by allegedly failing to file necessary tax forms respecting the alleged cash

payments. It is, of course, obvious that, just as Plaintiff and Mr. Blackburn cannot possibly have

any knowledge about Mr. Combs’ tax filings, they most certainly had no knowledge of the UMG

Defendants’ tax filings (as they are not a matter of public knowledge).

        37.      The SAC tosses these “cash” allegations aside (other than for the absurd

contention that the UMG Defendants were supposedly obligated to supervise and control Mr.

Combs’ tax filings).4 Instead, while acknowledging that Motown Records was obligated to



3
  The SAC persists with the FAC’s chronologically baseless assertion that the UMG Defendants
should have known about Mr. Combs’ allegedly improper conduct from the Cassie Ventura
complaint. As noted in my declaration in support of the motion to dismiss the SAC, that
complaint was not filed until November 2023, months after the license agreement was
terminated.
4
 And while the “aiding and abetting” claim – which is non-existent as a matter of law – remains
pleaded in the SAC, Mr. Blackburn acknowledged it had no basis at the April 9, 2024 hearing
and withdrew it as against the UMG Defendants.
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make payments to or for the benefit of Love Records, Inc. under the license agreement, the SAC

offers up the unsupported (and false) conclusion that the UMG Defendants wired or made

payments to Love Records, Inc. which supposedly were in excessive amounts (by a definition of

excessive amounts that is not provided and does not exist) and that the UMG Defendants should

have known Combs would or did use such funds to support the alleged “sex trafficking activity.”

       38.     Again, there is no factual basis for this assertion (and it is in fact, utterly untrue,

as documented in the Braithwaite declaration). It is a pure invention by Mr. Blackburn.

       39.     Mr. Blackburn’s complete indifference to the requirements of Rule 11 and the

obligations of attorneys practicing in our courts could not be made clearer than by the changes he

has made between the FAC and the SAC, his silence regarding how he came to plead the now

jettisoned foundational allegations of the FAC and how he could possibly make his new

foundational allegations in the SAC after he already knew that his “general business

partnership” allegation was completely untrue.

       40.     Mr. Blackburn has now filed three different complaints, each of which makes

offensive criminal accusations against Sir Lucian Grainge, UMG Recordings and Motown

Records that Mr. Blackburn not only lacked a good faith basis for asserting but in fact knew were

false when he filed each pleading.

       The UMG Defendants are Entitled to Recover the Costs and Fees Incurred In
       Moving to Dismiss the Baseless Claims Against Them

       41.     The service of this motion pursuant to Rule 11 is not the first notice we have

provided to Plaintiff and Mr. Blackburn. On March 4, 2024, I sent Mr. Blackburn a detailed

letter identifying flaws in his Amended Complaint (which he had filed that day, following up on

the original complaint filed on February 26, 2024). I attach a copy of my transmittal email to

Mr. Blackburn and my attached letter of March 4, 2024 is attached as Exhibit 8 to my declaration

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in support of the UMG Defendants’ motion to dismiss. We also served a Rule 11 motion in

connection with the motion to dismiss the FAC. That motion was served more than 21 days ago

but instead of filing that motion, to avoid burdening the Court with sequential Rule 11 motions,

we are making this motion to update that prior Rule 11 motion.

       42.     On March 4, 2024, approximately one hour after I had sent him my letter, Mr.

Blackburn sent me back what one might call a “responsive” email. I consider it anything but.

Ignoring the facts set forth in my letter, indeed quite obviously without bothering to conduct the

slightest investigation into the facts set forth in my letter, Mr. Blackburn instead doubled down

on the false allegations of the FAC. A copy of Mr. Blackburn’s email is attached hereto as

Exhibit 6.

       43.     In his email, he referred to a “public rollout,” supposedly by Ms. Habtemariam,

“celebrating the creation of Love Records in May 2022.” He also repeated the claim of the FAC

(which Ms. Habtemariam’s declaration conclusively refutes), that Ms. Habtemariam was

supposedly present at Love Records’ parties and the writers’ camp. He repeated the assertion

that his client saw Sir Lucian Grainge and Ms. Habtemariam at Mr. Combs’ home and that bags

of cash were supposedly brought to Mr. Combs’ home (again, this is directly contrary to what

Mr. Blackburn’s letter motion to amend falsely says was alleged in the FAC).

       44.     Having already conducted my investigation into the facts (based on the

allegations of the February 26, 2024 complaint, which, as to the UMG Defendants, was

substantially unchanged in the FAC), I responded to Mr. Blackburn’s March 4, 2024 email

within about a half of an hour. A copy of my email dated March 4, 2024 is attached hereto as

Exhibit 7.




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       45.     In my email response to Mr. Blackburn, I noted that we had discovered that he

had sent his complaint to the press (I believe he did so before it was filed). I told him that the

“bags of cash” assertion was “preposterously false” and that had he done any investigation, he

would have known that Motown Records simply had a one album distribution deal with Love

Records. And I reiterated that his client could not have seen Sir Lucian Grainge at Mr. Combs’

house in Los Angeles or Miami or anywhere else because he was never there. I strongly

suggested, again, that he dismiss all of the claims against all of my clients.

       46.     As I have said, the false foundational allegations of the FAC were abandoned in

the SAC. Any lawyer with integrity, when all of the foundational allegations of a complaint they

drafted are shown to be untrue, would carefully examine the facts before filing an amended

complaint. But not Mr. Blackburn. Indeed, not only did he not examine the facts, he ignored

them and simply created different allegations that he already knew to be false.

       47.     It is perfectly obvious that in the time between March 4, 2024 and April 12, 2024,

when he filed the SAC, Mr. Blackburn made no further effort to investigate the facts. The

baseless criminal accusations remain, only their foundation has been changed.5

       48.     As noted above, the offensively false allegations made in the FAC, and repeated

in Mr. Blackburn’s March 4, 2024 email, have been abandoned in the SAC, even as Mr.

Blackburn’s letter motion to amend sought to hold onto the claims once based on these

allegations. But where did these false allegations come from? What was their basis? Why



5
  On March 4, 2024, Mr. Blackburn also received a “Rule 11” letter from Mr. Combs’ counsel,
Jonathan Davis. A copy is attached hereto as Exhibit 8. In his letter, in addition to referencing
Plaintiff’s criminal record (which should have prompted a more rigorous inquiry by Mr.
Blackburn), Mr. Davis confirmed that Sir Lucian Grainge was never at any of Mr. Combs’
homes (and that Ms. Habtemariam left Motown months before the one “listening party” the FAC
identified). He also confirmed that the license agreement and relationship between Motown and
Love Records had been terminated long before the alleged “listening party”
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should anything this Plaintiff and Mr. Blackburn say be believed when they are so indifferent to

the truth that they think that they can make criminal accusations against people and companies

based on lies and then simply make up new lies to try to support the same accusations? Why

should anything they say or write be believed when Mr. Blackburn is even willing to make false

representations to this Court in response to direct questions posed by the Court?

       49.     The “parent company” allegation of the FAC never had any basis. The “general

business partnership” allegation of the SAC has no basis. Mr. Blackburn was expressly told

there was no partnership by Ms. Habtemariam, the former head of Motown Records who made

the deal with Love Records, Inc. Weeks before he filed the SAC, he was provided with a copy

of the license agreement which, in paragraph 16.11 thereof, expressly said there was no

partnership. Yet the non-existent “general business partnership” is the foundation for his claims

against the UMG Defendants in the SAC and Mr. Blackburn filed the SAC knowing the

allegation is untrue.

       50.     It is indisputable that Mr. Blackburn and his client have filed three complaints

filled with offensively false criminal accusations against the UMG Defendants knowing that their

allegations are completely baseless, legally and factually.

       51.     If these actions are not a Rule 11 violation, if these actions are not worthy of

referral to the Second Judicial Department Attorney Grievance Committee, then I do know what

is.

       52.     As I indicated at the hearing on April 9, 2024, while we were pleased that Mr.

Blackburn dismissed the FAC as against Ms. Habtemariam and that some of the most offensively

false allegations of the FAC were removed from the proposed (and now filed) SAC, Sir Lucian

Grainge, UMG Recordings, Inc. and Motown Records remain accused of engaging in vile



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criminal acts that they never committed. They are accused of failing to exercise supervision and

control over Mr. Combs that they had no obligation, authority or ability to exercise.

        53.    The fact that the SAC abandons accusations that had no basis to begin with

(substituting newly invented and equally false accusations) does not wipe the slate clean. The

offensive allegations were made in a public document against my clients and Mr. Blackburn has

publicized these allegations and the newly framed accusations of criminal conduct in the SAC

remain offensively false.

        54.    Mr. Blackburn, as Judge Cote has noted (in a decision attached hereto as Exhibit

9) has a pattern of failing to comply with his Rule 11 obligations. Mr. Blackburn’s conduct in

this action occurred within a few days after Judge Cote already issued an Order To Show Cause

regarding Mr. Blackburn’s conduct in the case before her (and in other cases brought to her

attention).

        55.    As I said above, whatever the truth or falsity of the SAC’s allegations against Mr.

Combs and any of his companies and/or associates, there is no merit to the accusations made

against the UMG Defendants. Plaintiff and Mr. Blackburn have unfairly, without any basis in

fact, and without conducting the slightest investigation into the facts required under Rule 11 –

indeed, knowing that their accusations are untrue – publicly accused the UMG Defendants of

engaging in criminal behavior. The UMG Defendants, and in particular, Sir Lucian Grainge,

should recover, as a sanction for violation of Rule 11, the costs and expenses they have incurred

to defend against these claims.

        56.    But that alone is not enough. Mr. Blackburn should be referred to the Second

Judicial Department Attorney Grievance Committee to assess his fitness to practice before the




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             EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

RODNEY JONES,

                       Plaintiff,                    CASE NO.: 24-1457

       V.

SEAN COMBS,
JUSTIN DIOR COMBS,
CUBA GOODING, JR. LUCIAN CHARLES                  DECLARATION OF SIR LUCIAN
GRAINGE,                                          GRAINGE IN SUPPORT OF MOTION
KRISTINA KHORRAM,                                 TO DISMISS SECOND AMENDED
CHALICE RECORDING STUDIOS,                        COMPLAINT BY DEFENDANTS
LOVE RECORDS,                                     UNIVERSAL MUSIC GROUP,
MOTOWN RECORDS,                                   MOTOWN RECORDS AND SIR LUCIAN
UNIVERSAL MUSIC GROUP,                            GRAINGE
COMBS GLOBAL ENTERPRISES,
JOHN and JANE DOES 1-10; and
ABC CORPORATIONS 1-10,

                       Defendants.


I, Sir Lucian Grainge, CBE declare as follows:

        1.     I am the Chairman and Chief Executive Officer of Universal Music Group, N.V.

("UMG NV"). UMG NV is a public company organized and existing under the laws of the

Netherlands with its principal operating offices and companies located in Santa Monica,

California. I have personal knowledge of the facts set forth in this Declaration and, if called and

sworn as a witness, I could and would competently testify thereto.

       2.      I have been named personally as a Defendant in the original complaint, First

Amended Complaint ("FAC") and now in the Second Amended Complaint ("SAC"). Motown

Records, which is also a named defendant in the SAC, is not an independent company but a

record label that is a division of UMG Recordings, Inc. ("UMG Recordings"), which is an

indirect wholly owned subsidiary of UMG, NV. I am also the Chairman and Chief Executive

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Officer of UMG Recordings, which is a Delaware corporation with its principal place of business

in Santa Monica, California. Universal Music Group is also named as a Defendant in the SAC.'

        A. The Court Lacks Personal Jurisdiction Over Me

        3.      As the SAC      8) admits, I am a resident of California, not New York.2 As I will

detail below, I engaged in no activity in New York whatsoever with respect to this matter (in fact,

beyond authorizing Ms. Habtemariam to make a deal to distribute one album recorded by Mr.

Combs, I engaged in no activity with respect to this matter anywhere). I understand that

Plaintiff's counsel, Mr. Blackburn, has been referred to the Grievance Committee of the

Southern District of New York by Judge Cote for repeatedly failing to properly investigate

personal jurisdiction over individuals he has sued in other cases.

       4.      The SAC has abandoned the every one of the four false allegations about my

supposed New York activity that were in the FAC         (i) that I was involved in disseminating

unidentified false information to unidentified artists in New York (II 214); (ii) that I sent

unidentified advertisements to unidentified artists in New York (II 220); (iii) that 1 oversaw the

unidentified marketing and soliciting to unidentified artists in New York (If 222); and (iv) that I

was supposedly present in Mr. Combs' alleged home in New York at which Mr. Combs engaged

in alleged sex trafficking (11343(0).

       5.      The SAC now accuses Combs and his colleagues of the first three actions (SAC

ifif 231-234) and the SAC no longer alleges that I was ever at any of Mr. Combs' homes. Thus,


  Universal Music Group is not an actual entity but a name commonly used to refer generally to
the various companies and labels owned by UMG NV. I assume Plaintiff intended to name
UMG Recordings, but he and his counsel have not bothered to correct this in the SAC.

2 The Plaintiff and his counsel identified my California addresses in the FAC for no purpose
other than to harass me. Having invaded my privacy unnecessarily, I understand that they have
removed my addresses from the SAC.
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the bases for jurisdiction over me in New York, which were untrue to begin with, now no longer

even exist.

       B. The SAC Completely Changes The Foundational Bases For Claims Against Me,
       Motown Records and UMG Recordings

       6.      The FAC originally claimed that Motown Records was the supposed "parent

company" of Love Records, Inc., and therefore we were responsible for his actions under a

"respondent (sic) superior" relationship. The SAC replaces these allegations with the equally

baseless "general business partnership" allegation by which Plaintiff and his counsel seek to

make me, Motown Records and UMG Recordings responsible for the allegedly wrongful

activities of Mr. Combs and his associates.

       7.      As detailed in the accompanying declaration of our counsel, Donald Zakarin,

based upon a declaration of Plaintiff that was submitted to this Court on April 9, 2024, and based

on Mr. Blackburn's own communications with this Court, there was never any basis for the

"parent company" allegation and the "respondent (sic) superior" allegation. It appears instead

that they were simply made up.3

       8.      The "general business partnership" allegation is completely contrary to the clear

and unambiguous language of the license agreement between Motown Records and Love

Records, Inc. (which I understand has been provided to Plaintiff and Mr. Blackburn in redacted

form). And from this non-existent "general business partnership," Plaintiff and Mr. Blackburn



3 In the FAC, the Plaintiff also specifically alleged personally seeing me at Mr. Combs' homes in
Los Angeles and Miami at which there were allegedly "sex trafficking" parties. Indeed,
according to the FAC, Plaintiff observed both me and Ms. Habtemariam (at separate times
apparently) disappearing into Mr. Combs' bedroom with him for hours. As I was never at any
of Mr. Combs' homes, this accusation was knowingly false. I am advised that the Plaintiff's
declaration essentially disavows having any personal knowledge of anything, attributing virtually
everything that is alleged in the FAC and SAC to what he was supposedly told by Mr. Combs.

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fabricate an equally non-existent duty on the part of me, Motown Records and UMG Recordings

to supervise and control the manner in which Love Records, Inc. and/or Mr. Combs spent the

monies Motown Records was required to pay to or on behalf of Love Records, Inc. under the

license agreement.

        9.     As set forth in the accompanying declaration of Martha Braithwaite, who

negotiated and executed the license agreement, there was never any partnership of any kind

between Motown Records and/or UMG Recordings with either Mr. Combs or Love Records, Inc.

On the contrary, the license agreement itself specifically provided that there was no partnership

or joint venture between Motown Records and Love Records, Inc. Instead, the parties were

independent contractors.

        10.    Given it is my understanding that Plaintiff's counsel was provided with a redacted

copy of the license agreement, I do not understand how he can, in good faith, make this "general

business partnership" allegation in the face of the plain terms of that agreement. Further, I

understand that Mr. Blackburn was expressly advised by Ms. Habtemariam, before he ever

drafted the SAC, that there was no partnership between Motown Records and Love Records, Inc.

As Mr. Zakarin says in his declaration, the only possible explanation for this allegation in the

SAC is that Mr. Blackburn has chosen to ignore facts of which he is aware in effort to try to

manufacture legally baseless and offensively false claims against me personally, Motown

Records and UMG Recordings.

       11.     The SAC' s contention that Motown Records, UMG Recordings and I had some

sort of obligation to supervise, monitor and control the use of any of the funds required to be

paid to or on behalf of Love Records, Inc. by Motown Records under the terms of the license

agreement is contrary to any business or legal principle of which I am aware. I am advised that


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the SAC even contends that I, Motown Records and UMG Recordings had an obligation to

assure that Love Records, Inc. and/or Mr. Combs properly paid their taxes (II 383).

        12.    While the prior false accusations of the FAC that I personally attended supposed

"sex trafficking parties" at Mr. Combs' homes have been removed, the SAC continues to be

filled with vile and completely untrue accusations against me personally. It alleges horrible

conduct on the part of Mr. Combs and his associates — never alleging any participation in such

allegedly improper activities by me, Motown Records or UMG Recordings. Instead, the SAC

accuses me of "intentionally or unintentionally" funding such improper activities by virtue of our

supposedly having provided funding through the license agreement that was allegedly misused

by Mr. Combs and by supposedly failing to control how Mr. Combs supposedly used the monies

paid to Love Records, Inc. by Motown Records (If 373).

        13.    As Mr. Zakarin's declaration states, none of these allegations are supported by a

single fact. They are unsupported conclusions that are, in fact, completely untrue and absurd

(and I fully intend to pursue both Plaintiff and his counsel for having made such false

accusations against me).

       14.     As I will detail below, I had nothing to do with Mr. Combs or Love Records, Inc.

("Love Records"). I had no role with respect to the license agreement or any payments made to

Love Records, Inc. by Motown Records. I had no oversight, nor any right to exercise any

oversight or control, over Love Records, Inc. or Mr. Combs. Indeed, given that money is

fungible, I have no idea how any contracting party could ever have oversight and control over

monies required to be paid to another contracting party under a license agreement once that

money has been paid.




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        15.         1 am the Chairman and Chief Executive Officer of a multi-national public

company. That alone is a full-time job, and I am also deeply committed to various philanthropic

causes. I do not get involved in the day-to-day operation of the thousands of agreements UMG

and its labels and publishers have entered into with artists and writers and did not do so with

respect to Motown Records' license agreement with Mr. Combs' company, Love Records. In

short, I had nothing to do with any of the actions alleged in the SAC.

        B. The Claims Against Me, Motown Records and UMG Recordings Are Factually
           And Offensively False

              (i)       The SAC Advances Knowingly False Allegations

        16.         The SAC purports to link me, Motown Records and UMG Recordings to an

alleged criminal racketeering enterprise and participating in and obstructing the government

from addressing alleged sex trafficking activity supposedly engaged in by Combs and certain of

his named associates. These accusations are based solely on the fabricated "general business

partnership" and the alleged failure on our part to fulfill the non-existent legal duty supposedly

imposed on us to control how Love Records, Inc. and/or Mr. Combs supposedly used the monies

paid by Motown Records under the license agreement.

        17.         It is indisputable that Plaintiff's counsel has made these allegations despite the

fact that he is fully aware that they are completely false. He has been advised of the falsity by

Mr. Zakarin. He has been advised of the falsity by Ms. Habtemariam and her counsel. He has

our original motion to dismiss, which sets out the factual falsity of his accusations against me,

Motown Records and UMG Recordings and the legal baselessness of his claims. He has the

redacted license agreement between Motown Records and Love Records, Inc. which specifically

disclaims any partnership. Yet he has persisted in asserting offensively false claims against me,

Motown Records and UMG Recordings that have no basis whatsoever.

                                                      6
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        18.          As Plaintiff and Mr. Blackburn no doubt intended, these scandalously false

accusations against me (which Mr. Blackburn has commented on in social media), together with

the entirely unnecessary and improper publication of my private home address in the FAC, have

created serious risk to me and my family. As I have said, I do not intend to simply walk away

from this matter once it is dismissed but intend to pursue the fullest available remedies against

both Plaintiff and Mr. Blackburn, including bringing his conduct to the attention of the Second

Department in New York.

              (ii)       The False Premise of the SAC that Motown Records or UMG Recordings
                         is in a General Business Partnership with Love Records, Inc. or Mr.
                         Combs

        19.          Having abandoned the original claim in the FAC that Motown Records

supposedly owned Love Records and therefore had an alleged "respondent superiorlsic] role, as

I said above, the SAC advances an equally baseless "general business partnership" allegation

coupled with the repeated assertion that UMG Recordings, Motown Records and I had a duty to

supervise and control how Mr. Combs and Love Records, Inc. used any of the monies that

Motown Records was obligated to pay to or on behalf of Love Records, Inc. under the license

agreement.

       20.           No longer does the SAC claim, as the FAC did, that I personally attended

listening parties at Mr. Combs' homes in Los Angeles and Miami (and New York) where there

were allegedly sex workers and underage women being sexually exploited and plied with alcohol

and drugs and that I had a duty to prevent these things from happening.'



  In language that is unclear to me, in subparagraph (f) of paragraph 375 of the SAC, it appears
that Plaintiff and his counsel are continuing to allege that I supposedly was present at Chalice
Recording Studio when there was allegedly a shooting there. I was not present at Chalice
Recording Studio or at any of Mr. Combs' homes.

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        21.     Instead, in the SAC, our supposed responsibility comes from the non-existent

"general business partnership" and the alleged duty to control the financial affairs of Love

Records, inc. and Mr. Combs. Nowhere, other than through the chronologically absurd Cassie

Ventura complaint (filed in November 2023, long after Motown Records terminated the license

agreement with Love Records, Inc.), and purely fictional conclusions, does the SAC identify any

supposed basis on which I, Motown Records or UMG Recordings could supposedly have known

of the alleged purposes to which Mr. Combs was supposedly putting the monies paid by Motown

Records under the license agreement (even assuming that such knowledge, which we did not

have, could create a basis for some liability).5

       22.     To be clear, Motown Records, UMG Recordings, and I had no right or ability to

exercise supervisory control or authority over Love Records or Mr. Combs. We did not have any

control or authority with respect to the financial affairs of Mr. Combs or Love Records, Inc. and

no obligation to exercise any such control. Mr. Combs was not our employee or our partner.

Love Records, Inc. was not the partner of Motown Records or UMG Recordings. Motown

Records' sole relationship to Mr. Combs and Love Records, Inc. was through a commonplace

and ordinary arms-length relationship of a licensor (Love Records, Inc.) and licensee (Motown

Records). And as Ms. Braithwaite states in her declaration, that relationship was terminated as

of February 1, 2023.

       23.     The FAC alleged a claim against me, Motown Records and UMG Recordings,

claiming we were responsible for security at Chalice Recording Studio that was allegedly



s The SAC vaguely alleges that some unidentified employees of UMG Recordings or Motown
Records supposedly were present at either Chalice Recording Studio or at alleged "listening
parties" at Mr. Combs' homes. Who they are, when they attended and what occurred is nowhere
mentioned in the SAC. I have no reason to believe that such vague allegations are any more
truthful than any of the accusations that Plaintiff and Mr. Blackburn have made against me.
                                                   8
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deficient. The SAC drops that claim. However, for some reason, the SAC continues to assert

that Motown Records and UMG Recordings, along with Combs, Love Records, Inc. and Chalice

Recording Studio, were responsible for security.

        24.           Again, I do not understand how Plaintiff and Mr. Blackburn can make this

allegation as they have no basis for it, and it has already been refuted in our original motion to

dismiss. Both Ms. Braithewaite and Ms. Habtemariam specifically stated in their declarations

that we were not responsible for any security at Chalice Recording Studio or any other Love

Records, Inc. activity. Rather, either Mr. Combs or Love Records, Inc. were responsible for

security. As I said above, 1 do not understand why Plaintiff and Mr. Blackburn persist in

pleading claims and allegations that they know are false.'

              (iii)      I Have Never Been In Mr. Combs' Houses

       25.            As I said in my original declaration in support of the motion to dismiss the FAC,

contrary to the unsupported allegations that were in the FAC (rff 162-167), I have never been in

Mr. Combs' house in Los Angeles, Miami or anywhere else and I did not sponsor, or attend any

"listening parties" at Mr. Combs' homes. I did not know — and do not know — whether there

were ever any allegedly underage girls and sex workers supposedly being sexually exploited and

plied with alcohol and drugs at any listening parties at Mr. Combs' house (and what Plaintiff

calls "freak offs"). The false story in the FAC about my supposedly having spent hours in Mr.

Combs' bedroom has not only been abandoned, but it appears that Plaintiff now claims only that

he was supposedly told this by Mr. Combs. The notion that Mr. Combs would supposedly tell

Plaintiff that I was not only at his homes, when I was never there, but that I also disappeared into



6 I am advised that Mr. Combs' counsel has provided Plaintiff s counsel, Mr. Blackburn, with
indisputable evidence showing that, contrary to what is alleged in the SAC, no alleged shooting
took place at Chalice Recording Studios.
                                                       9
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his bedroom with him for hours, is so completely ridiculous that, on its face, it is plainly one

more in a series of fabrications by either, or both, Plaintiff and his counsel.

        26.          Further, the SAC's allegations regarding my supposed knowledge of any alleged

improper activity engaged in by Mr. Combs and his associates is also completely untrue. The

conclusions that are made throughout the SAC about Motown Records, UMG Recordings and/or

I funding Mr. Combs' alleged improper activities are not facts, are not true and make no sense.

Mr. Combs was and is, according to public press reports, worth a billion dollars. I do not know

how anyone could possibly determine the source of any dollar that was allegedly misused by Mr.

Combs for any supposed improper purpose.

        27.          Motown Records had a briefly operative license agreement with Love Records,

Inc., and it had payment obligations under that license agreement. Motown Records had no right,

no ability and no duty to control how Love Records, Inc. spent any of the monies paid to it by

Motown Records.

              (iv)      The Sex Trafficking Allegations Are Completely Conclusory,
                        Chronologically Baseless and Completely False

        28.          The SAC, like the FAC also accuses me personally, along with Motown Records

and UMG Recordings, of the most scurrilously false allegations, claiming that we participated in,

aided and abetted and obstructed discovery of Mr. Combs' alleged sex trafficking (Seventh,

Fifteenth and Sixteenth "Causes of Action").7 Just as there was not a single fact, as opposed to

conclusions, supporting any such claim pleaded anywhere in the FAC, so too there is not a single

fact pleaded in the SAC. The claims are based on purely conclusory assertions about alleged



7 I am advised that at the Court telephonic hearing on April 9, 2024, Mr. Blackburn advised that
he was dropping this aiding and abetting claim. It is still alleged in the SAC but I believe it has
been withdrawn (because it has no legal basis).

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knowledge that we did not have, a general business partnership relationship that did not exist and

a duty to effectively manage the financial affairs of Love Records, Inc. and Mr. Combs that also

does not exist.

          29.     As I have said, I have no personal knowledge of any of the alleged activities that

supposedly took place at any of Mr. Combs' homes or on his boat (which I was also not on) or at

Chalice Recording Studio. And I most assuredly did not participate in or aid and abet or obstruct

anything relating to such alleged activity about which I knew nothing, never participated in, and

never observed.

          30.     While our original motion to dismiss already pointed out that the FAC's reference

to a complaint filed by a Cassie Ventura was chronologically impossible (because, as

documented in Mr. Zakarin's declaration, Ms. Ventura's complaint was not filed until November

16, 2023, long after Motown Records terminated its license agreement with Love Records), the

SAC continues to make this same chronologically impossible allegation.8 As I have said above,

Plaintiff and Mr. Blackburn simply refuse to allow facts to deter them from making baseless

claims.

          31.     As Mr. Zakarin's declaration also notes, both the FAC and the SAC also point to

some person by the name of Jonathan Oddi, who apparently also made some allegations against

Mr. Combs on or about December 17, 2023. Again, since Motown Records terminated its

agreement with Love Records Inc. long before Mr. Oddi's allegations, it remains chronologically

impossible for his allegations to have provided any notice of anything to us.




8 The SAC refers to a fight that took place between Steven Stoute and Mr. Combs some 25 years
ago. I fail to see how a 25 year-old event possibly bears on the SAC's alleged RICO and "sex
trafficking" claims that supposedly arose in 2022 and 2023.

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        32.    The FAC falsely alleged that UMG Recordings, Motown Records and/or I

provided Love Records, Inc. and/or Mr. Combs with cash. The SAC has not entirely dropped

this accusation, but the primary allegation now is that monies Motown Records was obligated to

pay under the license agreement were supposedly misused by Love Record, Inc. and/or Mr.

Combs and that we were obligated to control how the funds were spent. Yet inconsistently, the

SAC admits that Motown Records was obligated to pay or reimburse Love Records, Inc. for

recording costs incurred by Love Records, Inc. (SAC ¶ 164).

        C. The Amended Complaint Should Be Dismissed With Prejudice

       33.     Accordingly, for all of the reasons stated above and in the accompanying

Declarations of Donald S. Zakarin, Martha Braithwaite and Ethiopia Habtemariam, and as set

forth in detail in the accompanying Memorandum of Law, not only does the SAC fail to state any

claim against me, UMG Recordings and Motown Records, but the claims are based on

completely unsupported conclusions masquerading as "facts" - and the actual facts completely

refute the fabrications of the SAC. Indeed, as noted above, in virtually all instances, the Plaintiff

and his counsel already know that their allegations are baseless. Further, according to Plaintiff's

own declaration, at most, the allegations are not even based on any personal knowledge of the

Plaintiff but on hearsay statements supposedly made by Mr. Combs to Plaintiff, yet they have

refused to eliminate them and dismiss the claims they have asserted against me, Motown

Records and UMG Recordings.

       34.     I have devoted my entire professional career to the music industry and have tried

to lead an honorable personal and professional life. I believe I have succeeded in doing so. I

have had the honor of being appointed Commander of the Order of The British Empire (CBE) in

2010. I was knighted in 2016 and inaugurated to the Order of the British Empire and Knight


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Bachelor in 2016. I have received honors, recognizing my devotion to philanthropic causes, that

I value highly, including the Spirit of Life Award from the City of Hope.

       35.       It has been said that a single lie can destroy a reputation of integrity and that while

it takes years to build a reputation, it can be ruined in five minutes. The original complaint, the

FAC and the SAC, despite their completely different theories for attempting to hold me, Motown

Records and UMG Recordings liable activities of which we had no knowledge and as to which

we had no involvement, are filled with lies and are beyond reckless in their accusations against

me, none of which have any factual basis but are instead are knowingly and maliciously false

and defamatory.9

       36.       The SAC as against me, UMG Recordings and Motown Records should be

dismissed with prejudice and we should be awarded sanctions against the Plaintiff and. his

counsel.



I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.


Dated: April t       2024




                                                        Sir Lixcian Grainge, CBE




9 I expect that my attorneys will do everything in their power to remedy the maliciously false
accusations leveled in the Amended Complaint
                                                   13
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             EXHIBIT 2
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 RODNEY JONES,

                        Plaintiff,                   CASE NO.: 24-1457

        v.

 SEAN COMBS,
 JUSTIN DIOR COMBS,
 LUCIAN CHARLES GRAINGE,                             DECLARATION OF MARTHA
 KRISTINA KHORRAM,                                   BRAITHWAITE IN SUPPORT OF
 CHALICE RECORDING STUDIOS,                          MOTION TO DISMISS SECOND
 LOVE RECORDS,                                       AMENDED COMPLAINT BY
 MOTOWN RECORDS,                                     DEFENDANTS UNIVERSAL MUSIC
 UNIVERSAL MUSIC GROUP,                              GROUP, MOTOWN RECORDS, AND
 COMBS GLOBAL ENTERPRISES,                           SIR LUCIAN GRAINGE
 JOHN and JANE DOES 1-10; and
 ABC CORPORATIONS 1-10,

                        Defendants.


I, Martha Braithwaite, declare as follows:

       1.      During the time period applicable to the claims in this action, I was the Executive

Vice President, Business Affairs for the Capitol Music Group, which is affiliated with UMG

Recordings, Inc. (“UMG Recordings” incorrectly sued herein as “Universal Music Group”). As

set forth in the accompanying declaration of Sir Lucian Grainge, UMG Recordings’ Chairman

and Chief Executive Officer, UMG Recordings is incorporated in the State of Delaware, with its

principal operating offices in Santa Monica, California. UMG Recordings is the principal legal

entity for all recorded music operations in the United States for the global music and

entertainment company colloquially known as “Universal Music Group.” I have personal

knowledge of the facts set forth in this Declaration and if called and sworn as a witness, I could

and would competently testify thereto.


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       2.      I am advised that in the First Amended Complaint (“FAC”), the Plaintiff in this

action claimed that Motown Records was the “parent company” of Love Records, Inc. This

assertion was baseless and I understand it has now been abandoned by the Plaintiff and his

counsel in the Second Amended Complaint (“SAC”).

       3.      Instead, I understand that Plaintiff and his counsel, Mr. Blackburn, have

substituted an equally false allegation in the SAC: that Motown Records and/or UMG

Recordings is or was in a “general business partnership” with Love Records, Inc. and/or Mr.

Combs. During the relevant timeframe, I was the executive responsible for handling all of the

business and legal affairs for Motown Records. Motown Records is not a separate legal entity,

but a record label that is an unincorporated division of UMG Recordings. Neither Motown

Records nor any of UMG Recordings’ subsidiaries or affiliates are, nor were they ever, in a

“general business partnership” (or any other kind of a partnership) with Love Records, Inc., Mr.

Combs or any of his business entities.

       4.      To my knowledge, Love Records, Inc. is a company associated with Sean Combs

(and I believe owned by him, directly or indirectly). I know this because, during the period

starting in or around February 2022 through the beginning of May, 2022, I negotiated and

executed an arm’s length license agreement, for a limited term, on behalf of Motown Records

with Love Records, Inc., which was dated May 4, 2022. Love Records, Inc. was represented by

Kenneth Meiselas, who I am aware has been Sean Combs’ long-time transactional counsel.

       5.      I am aware that in the SAC, it is admitted (in various paragraphs, including

paragraphs 13, 163 and 164), that Motown Records entered into a license agreement to distribute




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a Love Records album. A redacted copy of that license agreement, which I am informed was

provided to Mr. Blackburn by our counsel, is attached hereto as Exhibit A.1

       6.      Paragraph 16. 11 of the License Agreement specifically provides as follows:

                        “You [Love Records] and Artist [Combs] are entering into this
                        Agreement and are performing your obligations hereunder as
                        Independent contractors. Nothing herein contemplates or constitutes
                        you or Artist as Motown’s partners, joint venturers, agents or
                        employees.”

       7.      As I said, Mr. Blackburn was provided a copy of this license agreement. I do not

understand how, in the face of the plain language of this agreement, he can continue to allege

that Motown Records and/or UMG Recordings had a “general business partnership” with Love

Records, Inc. and/or Mr. Combs.

       8.      Because I negotiated the license agreement, I can also address what I understand

is the assertion of Plaintiff and his counsel that no recordings were created by Love Records, Inc.

until at least September 2022. This assertion is completely false.

       9.      To begin with, my negotiations with Mr. Meiselas only began after Ethiopia

Habtemariam, who was then the Chairman and Chief Executive Officer of Motown Records,

attended a listening session at Mr. Combs’ studio to hear the recordings he had already recorded

and intended to include on the album that became the subject of the license agreement.

Ultimately, I am aware that Mr. Combs decided to record additional tracks beyond the ones he

had already recorded.




1
  The reason I have redacted the license agreement is because most of its terms and conditions
have nothing to do with this action. Rather, the main provisions that relate to this action are
those that address the license, the advance/recording costs and the representations and
warranties, all of which I have not redacted.
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       10.     During my negotiations with Mr. Meiselas, he advised me that Mr. Combs and

Love Records, Inc. had already spent several million dollars in recording and other costs on the

album. As such, one part of my negotiations with Mr. Meiselas addressed his request for the

reimbursement of the costs that Mr. Meiselas advised had already been incurred by Love

Records, Inc. in recording tracks prior to our negotiations. Motown Records was not prepared to

reimburse all of the costs that Mr. Meiselas advised had been incurred by Love Records, Inc.

(particularly for a distribution deal of a limited duration and no copyright ownership of the

recordings) and we ultimately agreed that Motown Records would reimburse the sum of $1.3

million. This reimbursement amount is specifically identified in Paragraph 7.02(a) of the license

agreement.2

       11.     I am advised that Mr. Blackburn, without the slightest basis, alleges that Mr.

Combs supposedly used the $1.3 million for sex workers. It appears this is premised on his

completely incorrect assertion that, until Plaintiff showed up in September 2022, there had been

no recordings made by Mr. Combs and no expenses were incurred. Based upon only a lack of

knowledge and baseless conclusions, Mr, Blackburn and the SAC label the license agreement as

a “ruse.”

       12.     As I have said, Mr. Blackburn is completely incorrect. Not only did Ms.

Habtemariam listen to tracks that had already been recorded by Mr. Combs before we entered

into the license agreement, Motown Records also spent a great deal of money marketing and




2
  The requirement that these costs be documented is a standard provision of our agreements.
However, because we have had many negotiations with Mr. Meiselas and his firm, we accepted
his representation that the actual costs incurred were far greater than the $1.3 million. Moreover,
since we ended up terminating the license agreement and did not distribute the album, there was
no reason for us to do a full accounting of the costs both before and after the license agreement
and we did not do one.
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promoting one of the tracks already recorded by Mr. Combs, “Gotta Move On,” which featured

Bryson Tiller. Motown released this single recording in or about June 2022 (prior to the

termination of our license agreement), and I understand it was thereafter also included on the

expanded version of the album that Mr. Combs ultimately completed and released (after the

termination of the license agreement). I am attaching hereto as Exhibit B, some invoices for

expenses incurred and paid by Motown Records in connection with this recording before

September 2022. I do so in order to show that, contrary to what is asserted in the SAC and by

Mr. Blackburn, there were tracks already recorded by Mr. Combs long before September 2022

(and it was for these already extant tracks that the $1.3 million was reimbursing Love Records,

Inc. for some of its recording costs).

       13.     I understand that in the SAC and at a telephonic conference with the Court on

April 9, 2022, Mr. Blackburn also claimed that Motown Records did not administer any

recording budget as provided for in the paragraph 4 of the license agreement, suggesting instead

that Motown Records simply gave money to Mr. Combs, which he then supposedly used to pay

for sex workers instead of making recordings (apparently Mr. Blackburn bases this incorrect

conclusion solely on Plaintiff’s claim that Mr. Combs allegedly did not pay him).

       14.     Beyond the fact that money is fungible and there is no way that Mr. Blackburn

can possibly know how Mr. Combs used any of the money, his assertion is also again incorrect.

       15.     First of all, paragraph 4.02(b) provided that Motown Records would administer

the budget for the recordings and pay recording costs. In fact, that is what Motown Records did.

Attached hereto as Exhibit C are some illustrative invoices for recording costs that were

submitted directly to Motown Records and paid by Motown Records. Motown paid for studio

time, engineers and producers. It did not pay cash, and it did not pay sex workers.



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       16.     I would also note that Paragraph 4.04(a) of the license agreement imposed on

Love Records, Inc., not on Motown Records, the obligation to negotiate, draft and execute all

producer agreements and the corresponding obligation to pay producers, unless Love Records,

Inc. requested that Motown Records undertake the obligation of paying certain of the producers.

As reflected in Exhibit, as part of the recording costs payable under the license agreement,

Motown did directly pay some of the producers.

       17.     In short, contrary to every uninformed assertion that is made in the SAC and by

Mr. Blackburn at the hearing on April 9, 2024, Motown Records reimbursed Love Records, Inc.

for recording costs that Love Records, Inc. actually incurred before the license agreement was

executed (and paid marketing and promotion costs associated with the release of such

recordings), and it directly paid recording costs Love Records, Inc. incurred after the license

agreement was executed. And also contrary to what the SAC and Mr. Blackburn have alleged,

Motown Records did not pay, directly, indirectly, intentionally or unintentionally, any money to

sex workers on behalf of Mr. Combs. The direct payments made by Motown Records to third-

party vendors, such as producers, engineers, recording studios, videographers and insurance

companies, were not paid to sex workers nor were they paid to Love Records, Inc. and were thus

not available to be used by Mr. Combs for the supposedly improper purposes alleged in the SAC.

       18.     I also understand that the SAC claims that Motown Records, UMG Recordings

and/or Lucian Grainge somehow profited by virtue of this license agreement. In fact, as I stated

in my original declaration in support of the motion to dismiss the FAC, subsequent to executing

the license agreement, Motown Records and Mr. Combs decided that Motown Records would

not release and distribute the album that Mr. Combs had created. Accordingly, I negotiated and

executed a separate document that terminated the license agreement, effective as of February 1,



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2023, on behalf of Motown Records. Under the termination agreement, Motown assigned back

to Love Records, Inc., on a quitclaim basis, all of Motown Records rights as a licensee in the

recordings. The termination agreement ended any relationship between Love Records, Inc. and

Mr. Combs on the one hand, and UMG Recordings on the other hand, and Mr. Combs’ company,

Love Records, Inc. released the album independently.

        19.     Because Motown Records did not distribute the album, it had no opportunity to

recoup the recording costs (and marketing and promotional costs) it paid to or on behalf of Love

Records, Inc. nor did it recoup the reimbursement of recording costs it paid to Love Records, Inc.

under the license agreement. Thus, far from profiting from the album, the license agreement was

not profitable for Motown Records or UMG Recordings.

        20.     I understand that the claim in the FAC that Motown Records and/or UMG

Recordings were responsible for the security at Chalice Recording Studio at which there was

allegedly a shooting (and that the security provided was allegedly inadequate) has been

abandoned (but that there remains some allegation about Motown Records, UMG Recordings

and/or Lucian Grainge nevertheless somehow being responsible for security). Whether it is

asserted as a claim or an allegation, it is false.

        21.     I can confirm that neither Motown Records nor UMG Recordings were invoiced

for and did not pay for security at Chalice Recording Studio. Love Records, not Motown

Records or UMG Recordings, was responsible for security at any Love Recordings’ writers’

camp or recording session at Chalice Recording Studio (or anywhere else for that matter).

Motown Records did pay for studio time at Chalice Recording Studio, as well engineers and

producers that worked there. But it had no responsibility for nor did it pay for any security.




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